              Case 1:20-cv-01952-JPC Document 18 Filed 01/22/21 Page 1 of 1




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                                              January 15, 2021

    Via CM/ECF
    Honorable John P. Cronan
    United States District Judge
    Southern District of New York

           Re:     Michael Adams vs. PJ Restaurant Inc., et al.
                   Civil Action No.: 1:20-cv-01952-ER
                   Joint Letter-Motion for Extension of Time to File Stipulation of Dismissal

    Dear Judge Cronan:

           I represent the Plaintiff in the above-referenced matter.
            The parties have reached a settlement in this matter and have exchanged executed
    settlement documents. At this point, the only remaining items which is prohibiting the parties
    from filing a stipulation of dismissal is the payment of the settlement. It is expected that the
    payment will be made by January 29th. In light of the above, the parties respectfully request that
    their time to file a stipulation of dismissal be extended to February 5, 2021.
           The Defendant consents to this request.
           This extension would not affect any other deadlines or events.

           Thank you in advance for your anticipated consideration of this request.

                                                    Respectfully Submitted,

                                                    BARDUCCI LAW FIRM
                                                    s/Maria Costanza Barducci, Esq.
                                                    MARIA COSTANZA BARDUCCI, ESQ.
    cc: Via CM/ECF Only



Plaintiff's request is GRANTED.   Plaintiff shall file the stipulation of
dismissal by February 5, 2021.


SO ORDERED.                   ___________________________
Date: January 21, 2021        JOHN P. CRONAN
      New York, New York      United States District Judge
